            Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 1 of 23

                                               ORIGINAL
                                                                                                   U .S .D','~~~'F~T COURT
                              IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
                                                                                                   2C~, VGV 26 QM 9- 1 3
                                      SAVANNAH DIVISION

LAURIE ABBOTT, FRED WILLIAMS, and                                                                       --
FRED WILLIAMS HOMEBUILDERS, INC .
                                                         r
           Plaintiffs,

V.
                                                              CIVIL ACTION NUMBER :
                                                         ∎
CITY OF POOLER, EARL L . CARTER,
WAYNE D . SEAY, TRAVIS COWART, JR ., r
J. ROBERT BRYAN, BILLIE L, TYLER,
SONNY DEFILIPPIS , and STEVE E .
WALL, JR .,

           Defendants.                                   ∎


                                                 COMPLAINT


                                                         1.

           Plaintiff, Laurie Abbott, is a resident of the State of Georgia .

                                                        2.

           Plaintiff, Fred Willi ams, is a resident of the S tate of Georgia .

                                                        3.

           Plaintiff, Fred Williams Homebuilders, Inc . is a Georgia corporation .

                                                        4.

           Defend an t, City o f Poo l er, is a p olitical subdivisio n of the state of Georgia.

                                                        5.

           Defendant, City of Pooler, is located within Chatham County , Georgia .



1595 3 2




                                                                                                                             I
             Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 2 of 23



                                                          6.

           Defendant , E arl L . C art er, resides at 4 06 Pu rple Finch D rive, Poo ler, Georgia 31 322 .

                                                          7.

           Defend ant, Wayne D. Seay, resi des at 120 N. Newton Stree t, Pooler, Georgia 3 1 322 .

                                                          8.

           Defendant , Trav i s Cowart, Jr ., resides at 118 Claxton Road, P ooler, Georg ia 3 1 32 2.

                                                          9.

           D efen dant , J. Robert Bryan, resi des at 417 Durden Drive, P ooler, G eorg ia 3 1 322 .

                                                         1 0.

           Defend ant, B illie L . Tyler, res ides at 515 Gle aso n Ave nue, P oo l e r, Georgi a 3 1 322 .

                                                         11 .

           Defend ant, Sonny DeFilippis, resi des at 506 C liff Drive, Pooler, Georgia 3 1 322 .

                                                         12.

           Defendant, Steve E. Wall, Jr., res ides at 305 Cardinal Street, Poo ler, Georgia 3 1 3 22 .

                                                         13.

           The Plaintiffs describ ed in Paragraphs 1 -3 are co llectively referred to herea fter as

"Plaintiffs ." The Defendants describe d in Paragraphs 4-12 are collectively referred to hereafter

as "Defendants ."

                                                         14 .

           Defendants are subject to the jurisdiction of this court, and venue in this court is proper .

                                                         15 .

           Defendants maybe served pursuant to the provisions of O .C . G .A. § 9-11 -4 or O .C .G. A. §

1 59 532
                Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 3 of 23




36-1-5 .

                                                           16 .

               Defend ants are s ubject to suit purs u ant to provisions of the Constitut ion o f th e Uni ted

States of America , the Constitution of the State of Georgia, O . C .G .A. § 36-1-3, O .C .G .A. § 36-7-

1 et seq . , and other statutory and case law of the State of Georgia.

                                                           17 .

               Defend an t City of Pooler maintains, as separate and distinct departm ents, an Inspection

Department and a Zoning Department.

                                                           1 8.

               Defend ant City of Pooler's Inspectio n D epartment is primarily charge d with building

permitt ing a nd inspection activities .

                                                           19 .

               Defend ant City of Pooler's Zoning Department is c harge d with p roposing and advising o n

zo ning requests and enforc ing zonin g regulation s .

                                                           20 .

               At a regularly Schedul ed Council Meeting of Defendant City of Pooler, the Defendants

adopted new fees for the issuance of building permits and other fees related to real estate

deve lop ment. The ne w fees wh ich reflect a department-wide increas e in fees represent a

significant increase in the fees from the previous year.

                                                           21 .

               At a regularly Scheduled Counci l Meeting of Defendant City of Pooler, the Defendants

adopted a new fee of $1 ,200 (one thousand two hundred dollars) per approved building permit to

15 9 5 3 2 1
             Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 4 of 23



be assessed to fund future construction and expansion of Defendant City of Pooler's sewer

treatment facility. Such fee was not previously imposed by the Defendant City of Pooler .

                                                    22.

            On March 19, 2001, at a regularly Schedu led Council Meeting of Defendant City of

Pooler, Defendants adopted a new fee of $ 1 ,500 (one thousand five hundred dollars) per

approved building permit to be assessed to fund future treatment of effluent waste .

                                                    23.

            Defendant City of Pooler has app lied a zoning ordinance which restricts apartment

density to the following s quare footages : effici ency apartm ent - 1 ,500 s quare feet ; o ne b edroo m

apartment - 2,000 square feet ; two bedroom apartment 2,500 square feet ; three bedroom

apartment - 3,000 square feet.

                                                    24 .

            Defendant City of Po oler has proscribed the minimum lot size for similarly c ategorized

one-family residential construction to ten thousand five hundred square feet .

                                                    25 .

            Throughout the rest of Chatham County, lot sizes for one-family residences of six

thousand square feet are permitted.

                                                    26.

            Defendant City of Pooler has enacted construction and construction related requirements

which exceed the minimum accept able i ndustry st andards for constru ction .

                                                    27.

            Defendant City of Pooler has subjected buildings constructed and under construction by

1595 32 1
              Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 5 of 23



Plainti ff Fred Williams to higher l evels of scr utin y duri ng ins pectio n than bu ildings constru cted

and under construction by other builders .

                                                     28.

             Defendant City of Pooler's current zoning of land for multi-unit dwellings has prevented

Plaintiff Lauri e Abbott from deve loping property owned by Pl ainti ff Abb ott w ithin Poo ler's city

limits as apartm ents wi th unit sizes below 2, 000 s quare fee t .

                                                     29.

             The zoning requirements, fees and inspection procedures described in paragraphs 20

through 28 were implemented and are maintained as part of a concerted effort on behalf of

Defendant to deny housing opportunities to b lack home buyers and to dissuade or prevent the

building of affordable housing which may be sold or rented to black home renters or home

buyers .

                                                     30.

             The fees, described in Paragraphs 20, 21, and 22 of this Complaint, unreasonably exceed

the cost of the services for which the fees were adopted .

                                                     31 .

             The fees, described in Paragraphs 20, 21, and 22 of the Complaint, are not rationally

related to the cost of the services being provided .

                                                     32 .

             The effect of the facts alleged contained in paragraphs 20 through 31 have had a disparate

impact on the population of African-Americans within the City of Pooler .




159532 . 1
            Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 6 of 23



                                                     33.

          Plaintiff has complied with the requirements of O . C.G .A. § 36-11-1 by the letter dated

September 13, 2001, from counsel for the Plaintiff, George Boyd , Jr. , attached hereto as Exhibit

"A" and by the filin g of this lawsuit . Defendant City o f P ooler has rece ived the letter attached as

Exhibit "A" and responded to it by denying liab ility . Their letter dated September 26, 2001 is

attac h ed as E xhibit "B"

                                                 Count One

             Constitution of the United States of America - Deprivation of Property

                                      Without Due Proce ss of Law

                                                     34.

          Paragraphs 1 through 33 above are realleged in their entirety .

                                                     35 .

          The fees, described in Paragraphs 20, 21, and 22, unreasonab ly exceed the true cost of the

regulatory services for which they are charged and are not rationally re lated to the cost of the

servi ces being pro vided, and thu s constitute an unconstitutional d epri vation of p roperty wit hout

Due P rocess of Law b y Defendant .

                                                C ount Two

                   Constitution of the State of Georgia - Deprivation of Propert y

                                      Without Due Pro cess o f Law

                                                     36.

          Paragraphs 1 th roug h 35 above are realle ge d in t heir entirety.




1 59532
              Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 7 of 23



                                                          37.

             The fees, described in Paragraphs 20, 2 1 , and 22, are not rationally related to the cost of

the services being pro vided, and thu s constitut e an uncons t ituti onal depri vation o f pr operty

without Due Process of Law by Defendant .

                                                    Count Three

        Constituti on o f the State of Georgia- Taxation Without Constitutional Authority

                                                          38.

             Paragrap h s 1 through 37 are hereby realleged in their entirety .

                                                          39.

             The fees, described in Paragraphs 20, 21, a nd 22, have been implemented in part for the

pu rpose o f producing revenue for general use by Defendant City of Pooler.

                                                          40.

             The imposition of the fees, described in Paragraphs 20 , 21 , and 22, at a level in excess of

the re asonable cost of the service provi ded is an attempt to exercise the power of taxatio n without

a co n ferral of authority from the Cons titution or the Genera l Assembl y.

                                                     Count Four

                                         Violation of O . C .G. A. § 48- 13 -9

                                                          41 .

             Paragraphs 1 throu gh 4 0 abo ve are r ealleg e d in th ei r entirety.

                                                          42 .

             The fees, described in Paragraphs 20, 21, and 22, are regulatory fees that have been

adopted by defendant for the purpose of raising revenue for general use by Defendant City of

15 9 532 1
            Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 8 of 23



Pooler .

                                                      43 .

           The fees, described in Paragraphs 20, 21, and 22, are regulatory fees which unreasonably

exceed the true cost of th e actual regulatory activi ty perfo rmed b y th e Defe ndant.

                                                      44 .

           The fee s, desc rib ed in P aragraphs 20, 21 , and 22, are unauthorized fees which are

violative of O .C .G .A. § 48-13-9 .

                                                  Cou nt Five

                        Viol ation o f th e Geo rgia Deve lopm ent Imp act Fee Act

                                                      45 .

           Paragraph s I through 44 ab ove are realleg ed in th eir entirety .

                                                      46.

           Plaintiff all eges in the alternative that the fees, described in Paragraphs 20, 2 1 , and 22,

have been imposed as a condition precedent for ap proval of new development and for the

purp os e of paying for system impr ovements n eeded to serve new growth and d eve lopment.

                                                      47.

           The fees, described in Paragraphs 2 0, 21 , and 22 , are development imp ac t fees as defi ned

by O.C.G.A. §36-71-2 .

                                                      48 .

           Defendant has not complied with the requirements for the imposition of development

impact fees as required by O.C .G.A. § 36-71 -1 et seq




1 59532
            Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 9 of 23



                                                      49.

           The fees , described in Paragraphs 20, 21, and 22 , are not authorized by Georgia law and

are, therefore, illegal enactments .

                                                  Count Si x

            Constitution of the United States of America - Violation of Equal Protectio n

                                                      50.

           Paragraphs 1 through 4 9 are reall eged in the ir enti rety.

                                                      51 .

           The Defendant's impo sition of z onin g regulat ions for the purpose o f d iscouraging

African-Americans from purchasing housing within t he City of Pooler violates the equal

protection requirements under the Constitution of the United States of America .

                                                      52.

           The imposition of excessive fees for the purpose of precluding affordable housing and /or

discouraging African-Americans from purchasing housing within the City of Poo ler violates

equal protection requirements under the Constitution of the United S tates of America .

                                                      53.

           The appl ication of exc essive bui lding requir ements and standards for the purpose o f

precluding affordable housing and discouraging African-Americans from purchasing housing

with in the Cit y o f Poo ler viol ates equal protection req uirements under the Cons titutio n ofthe

United States of America.

                                                      54.

           The imposition of unusually high scrutiny to Plaintiff Wi lliams' construction projects for

159532 1
               Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 10 of 23



the purpose of discouraging Plaintiff Williams fro m marketing or selling houses he builds to

African- Americans v iolates the Equ al Protecti on requ ire ments und e r the C onstituti on of the

United States of America.

                                                    Count Seven

                    Constitution of the State of Georgia - Violation of Equal Protection

                                                          55 .

              Paragraphs I through 54 are realleged in their entirety .

                                                          56.

              The Defendant's imposition of zoning regulations for the purpose of discouraging

Afri can- Ameri cans from purchas ing housing within the City of Pooler violates the equ al

protection requ irements under the Constitution of t he State of Georgia .

                                                          57 .

              The imp osi t ion of excessive fees for the purpose o f prec lud i ng affordabl e housing an d/or

discouraging African-Americans from purchasing housing within the City of Pooler violates

equal protection requirements und er the Constitut ion o f the State of G eo rgia.

                                                          58 .

              The application of excessive bui lding requirements and standards for the purpose of

precluding affordable housing and /or discouraging African-Americans from purchasing housing

wi thin th e Ci ty of Po oler violates equal prot ection requirements und er th e C onstituti on of the

State of Georgia .

                                                          59.

              The imposition of unu sually high scruti ny to Pl ai ntiff W ill iams' c onstructi on proj ects for

159 532 . 1
             Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 11 of 23



the purpo se of disco uraging Plainti ff Will iams from m arketing o r selling houses he build s to

African-Americans violates the Equa l Protection requirements under the Constitution of the State

of Georgia .

                                                    Count Eight

              Constitution of United State of America - Arbitrary and Capricious Action

                                                         60 .

             Paragraphs 1 thro ugh 5 9 are realleged i n the i r entirety.

                                                         61 .

             Defendant 's imposition o f zoning regulation s for efficiency apartments requiring a

minimum square footage of 1,500 square feet is an arbitrary and capricious exercise of

Defendant's police power .

                                                         62.

               Defendant's imposition of zoning regulations for one bedroom apartments requiring a

minimum square footage of 2,000 square feet is an arbitrary and capricious exercise of

Defendant's police power .

                                                         63.

             Defendant's imposition of zoni ng regulations for two bedroom apartments requiring a

minimum square footage of 2,500 square feet is an arbitrary an d caprici ous exercise of

Defendant's police power.

                                                         64.

                Defendant's impositio n of zoning regulations for three bedroom apartments requiring a

minimum square footage of 3,000 square feet is an arbitrary and capricious exercise of

159532 . 1
         Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 12 of 23



Defendant's police power .

                                                   65 .

         Defendant 's imposition of zoning regulation s for one-fami ly residenti al construction

requiring a m inimum lot size often thousand five hundred square feet is an arbitrary and

capricious exercise of Defendant's police power.

                                                   66.

         Defendant's imposition of construction standards and other construction related

requirements which exceed the minimum acceptable industry standards for construction is an

arbitrary and capricious exercise of Defendant's police power .

                                              Count N ine

                                    Violation of Fair H ousing Act

                                                   67 .

         Paragraphs 1 thr ough 66 abo ve ar e realleged in their entirety.

                                                   68.

         Defend ant's impos ition of zoning regulation s for th e purpose o f prec ludin g affordable

housing and discouraging Afri ca n-Americans from purchasing housing with in the C ity of Poo ler

violates 42 U .S .C . A. 360 1 et seq. (commonly kn own as the Fair Housing Act) .

                                                   69.

         The impos ition o f excessive fe es for the purpose o f p recluding a ffordable housing and

discouraging African-Americans fro m purchasing housing within the City of Pooler violates 42

U. S.C.A. 3 60 1 et .
                    seq (commonly known as the Fa i r H o usi ng Act).




159532
          Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 13 of 23



                                                     70.

         The application of excessive building requirements and standards for the purpose of

precludi n g affordable housing and discouraging African-Americans from purchasing housing

within the City of Pool er violate s 42 U .S.C.A. 3 60 1 et seq. (co mmonly known a s the Fair

Housing Act) .

                                                     71 .

         The imposition of unusually high scrut iny to Plaintiff Williams' construction projects for

th e purpose of precluding affordable housing an d discouraging Plaintiff Williams from marketing

or se llin g houses he build s to African-Am ericans vi olates 42 U .S.C .A. 36 01 et se q. (commonly

kn own as the Fair Housing Act).

         WHEREFORE , Plaintiff prays for the following :

         A.      That servi ce of process issue forthwith against Defendants ;

         B.      That Defendant City of Pooler be immediately and permanently enjoined from

                 co ll ec tin g any bu ilding p ermit fees or inspection fees that exceed the tru e cos t of

                 the services provided;

         C.      That D efendant s be immed iately and perm anently e njoin ed from appl ying

                 particular scrutiny to Plaintiff Wil liams' building projects ;

         D.      That D efendant s be immed iately and perm anently enjoined fro m vio lati ng 42

                 U.S.C.A. 360 1 et seq . (commonly kn own a s the Fair H ousing Act);

         E.      That D efendant City o f Pooler be immediately e njoined from enforce ment of the

                 fees for the issuance of building permits and for other fees related to rea l estate

                 development complained of herein ;

159532
               Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 14 of 23



              F. That Defendant C ity of Pooler be immediately and permanently enjoined from

                     collecting any deve lopment en actm ents complained of h erein;

              G.     That Defendant City of Pooler be immediately and permanently enjoined from

                     collecting any development imp act fee pri or to complying with the provisions of

                     O.C .G.A. § 36-71-1 et seq. ;

              H.    That D e fendant C ity of Pooler refund all funds un lawfull y co llected b y it;

              I. That the costs of this action be taxed against the Defendants ;

                     That Plaintiffs be awarded att orneys fees and the costs associ ated with bringing

                     this action ;

              K.     For a trial by jury; and

              L.     For any other relief which this Court deems just and proper .

              Respectfully Submitted this ~I St day of "I' ) 0v-e YwbV- 7" , 2001 .

                                                     Attorneys for Plaintiff

                                                     PAGE, SCRANTOM, SPROUSE,
                                                     TUCKER & FORD, P .C.


                                                     By:     I                     -
                                                             Reb ecca J . Mill e
                                                             Ga. Bar No .: 50817T-


1043 Third Avenue
P. O. Box 1199
Columbus, Georgia 31902
(706) 324-0251




1 595 3 2 1
        Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 15 of 23




CA SE :   5 :01-cv-00091
DOCUM ENT : 12
DATE :      11 /27/0 1

C LE RK :    kts
        Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 16 of 23
                                         ORIGINAL
                                                                                     FILED
                                                                            U .S . DISTRICT COURT
                              UNITED STATES DISTRICT COURT S f'' .4t, '!"'< AN DIV.
                          FOR THE SOUTHE R N DISTRICT OF GEORGIA
                                   WAYCROSS DIVISION 10 C I NO V 26 PM 12 :                          54

UNITED STATES OF AMERICA,                                                 CL~RIE -
                                                                               S0. Dl    . Of GA .
        Plaintiff,

vs                                                       Civil Action No . : CV 501-91

2000 Jaguar Vanden Plas
VIN: SAJDA24C6YLF20524
        Defendants .

                                       CLAIM OF OWNERSHIP

TO:     Offic e of the Clerk
        United States District Court for t he Southern District of Georgia
        125 Bull Street
        Savannah, Georgia 3 1401

RE: Asset :                                2000 Jaguar Vanden Plas
     VIN:                                  SAJDA24C6YLF20524


        Claimant, Soma Coy le, shows that she is t he owner of the above referenced property,

one 2000 Jaguar Vanden Plas, VIN : SAJDA24C6YLF20524

        Claimant shows that said v ehicle was not acquired with funds that were used, or

acquired, as a result of any criminal offense , that said vehicle was seized without le gal caus e, and

that c laimant is lawfull y entit led to the immediate possession of the same .


        C laimant herein fi l es its claim .




                                                      ~ S6J-d'Toyle
                                                            '
                                                                            a"L
                                                                              ;--




                                                                                                          I?
        Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 17 of 23




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   WAYCROSS DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,

vs.                                                               Civi l Action No . • CV 50 1 -9 1

2000 Jaguar Vanden Plas
VIN : SAJDA24C6YLF20524
       Defendants .

                                         CLAIM OF OWNERSHIP

TO:     O ffice of t h e Clerk
       United States District Court for the Southern District of Georgia
       125 Bull Street
       Savannah, Georgia 3140 1

RE: Asset :                                  2000 Jaguar Vanden Plas
     VIN:                                    SAJDA24C6YLF20524

                                               VERIFI CATION

        PERSONALL Y, before the undersigned officer authorized by law to administer oaths,

came an d appeared, SONJA C OYLE, who, after havi ng bee n duly swo rn, deposes and says that

the facts contai ned in the within and foregoi ng CLAIM OF O WNERSHIP are true and correct of

the best of its knowledge .

       This 23'" ' day of November, 2001


                                                                        A C OY
                                                                                      C
Sworn t and subscribed before me
this of Nove mber 200 1 .


  O AR         BL



                          Notary Public, Glynn Cwu MY, Owry1B
                          My commission Expires April 1, 2002 .
        Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 18 of 23




                                   CERTIFICATE OF SE RVI C E

State of Georgia
County of Chatham

     I hereby certify that I h ave this date serve d a copy of the within and foregoing C LAIM
OF OWNERSHIP

                                       James L . Coursey, Jr., Esquire
                                   Assistant United States Attorn ey
                                            P.O. Box 8970
                                       Savannah , Georg ia 31412
       as follows :

                                        by deposit i ng same in the United State Mail in an
                         envelope with sufficient p ostage affixed theron to ens ure proper delivery .

       This 3(        day of , 2001 .




2225 Gloucester Street                                          Newel l M. Hami lton, Jr.
Brunswick , Ga 31520                                            Attorney for Claimant
(912) 265-9114                                                  Georgia Bar No . 320905
       Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 19 of 23




             i i iumii i i i i i i ii i i i i
CASE :     5 :01-cv-00093
DOCUM ENT : 1 1
D ATE : 11/27/01

CLER K :    k ts
       Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 20 of 23
                                     ORIGINAL                               FILED
                                                                               ;CN pOURT
                                                                   U .% DIS1f?
                           UNITED STATES DISTRICT COURT ~
                       FOR THE SOUTHERN DISTRICT OF G Ffl~Q4                  2 6 P~1 12 : 55
                                 WAYCROSS DIVISION

                                                                  LLC~•
UNITED STATES OF AMERICA,                     )                        ,p pIST . OF GA .

        Plaintiff,

vs .                                                 Civil Action No . : CV 501 -93

UNITED SATES CURRENCY
TOTALING $89 ,587 . 03 (seized from
Prosperity Bank, St . Augustin e, Flonda ,
Account No . :4002319108) ;

and

UNITED STATES CURRENCY
TOTALING $7 ,300 .24 (seized from
First National Bank of Nassau County ,
Fernandina Beach, Florida,
Account No . - 4007371,

        Defendants

                                    CL A IM OF OW NERS HIP

TO :   Office of the Clerk
       United States District Court for the Southern District of Geor gia
       125 Bull Street
       Savannah, Georgia 31401

RE : Asset :                           $89 ,587 . 03
      Account Number :                 4002319108
      Financial Institution            Prosperity Bank

       Asset :                         $7,300 .24
       Account No . :                  4007371
       Financial Institution-          First National Bank of Nassau County
        Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 21 of 23




        C laimant, S onja Coyle, shows that she is the owner of the above refere nced property,

$89 , 587 .03 and $7,300 .24 .

        Claimant shows that the funds has neve r b een used, or acquired, as a resu lt of any

criminal offense , that is was s eized without legal caus e, and that claimant i s lawfully entitled to

the immediate possession of the same .

        Claimant herein files its claim

                                                                                      i

                                                        Sonja Coyl
       Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 22 of 23




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   WAYCROSS DIVISION

UNITED STATES OF AM ERICA ,

        Plaintiff,

vs .                                                                 Ci vil Action No . : CV 501 -93

UNITED SATES CURRENCY
TOTALING $89, 587 .03 (seized from
Prosperity Bank , St. August i ne, Florida,
Account No . :4002319108) ;

and

UNITED STATES CU RRENC Y
TOTALING $7,300.2 4 (seized from
First Natio nal B ank of Nassau Co unty
Fernandina Beach, F lorida,
Account No . : 4007371,

       Defendants .

STATE OF GEORGIA
COUNTY OF CHATHAM
                                                 VERIFI CATIO N

       PERSONALLY, before the undersigned officer authorized by law to administer oaths,

came an d appeared, SONJA COYLE, who, after h aving been duly sworn, deposes and says that

the facts contained in the withi n and foregoi ng C LA IM OF OWNE RS HIP are true and correct of

the best of its knowledge.
                     ta
       This Z          day of November, 2001
                                                                                                  .~

                                                                     S A COYL
Sworn to and subscribed before me
this :LtNo .04be 0


N07P.RY PUB 611C
                           Notary Public , Glynn County. Georgia
                           My Commi ssion Expi res April 1 , 2002.
       Case 4:01-cv-00272-WTM Document 1 Filed 11/26/01 Page 23 of 23




                                   CERTIFICATE OF SERVICE

State of Georgia
County o f Chatham

     I hereby certify that I have t his date serve d a copy of the within and foregoing C LAI M
OF OW NERSHIP

                                       James L . Coursey, Jr ., Esquire
                                   Assistant United States Attorney
                                            P.O . Box 8970
                                      Savannah, Georgia 314 1 2
       as fo ll ows :

                                        by depositing same in the United State Ma il in an
                         envelope with sufficient postage affixed theron to ensure proper de li very .

       This 2           day of~~              I 2001 .




2225 Gloucester Street                                          Newell M . Hami l ton,
Brunswick , Ga 31520                                            Attorney for C l aimant
(912) 265-9114                                                  Georgia Bar No . 320905
